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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK

_______________________________
IDA GONZALEZ                    )                  ECF CASE
            Plaintiff           )
                                )                   Case No. 1:10-cv-09456-PGG
            vs.                 )
                                )                  CIVILACTION
MALCOLM S. GERALD &             )
ASSOCIATES, INC.                )
            Defendant           )
_______________________________)

                   ACCEPTANCE OF OFFER OF JUDGMENT


TO:    Malcolm S. Gerald & Associates, Inc., Defendant
       c/o Thomas R. Dominczyk, Esquire
       5 Walter E. Foran Blvd., Suite 2007
       Flemington, NJ 08822
       Attorney for Defendant

        TAKE NOTICE that Plaintiff, Ida Gonzalez, accepts the offer of judgment served
on her by Defendant on January 31, 2011, allowing Plaintiff, Ida Gonzalez, to take
judgment against Defendant, Malcolm S. Gerald & Associates, Inc. for the total sum of
$1,501.00 plus reasonable attorney fees as agreed by and between the parties or by court
order; together with costs accrued by Ida Gonzalez up to the making of the offer.




Date January 31, 2011                       /s/ Bruce K. Warren
                                            Bruce K. Warren, Esquire
                                            Attorney for Plaintiff
                                            Warren & Vullings, LLP
                                            1603 Rhawn Street
                                            Philadelphia, PA 19111
                                            (215)745-9800
